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17
18                                    UNITED STATES DISTRICT COURT

19                      NORTHERN DISTRICT OF CALIFORNIA, OAKLAND DIVISION

20
21 CALIFORNIA COALITION FOR WOMEN                           Case No. 4:23-cv-04155-YGR
     PRISONERS et al.,
22                                                          DECLARATION OF K                 D
                        Plaintiffs,
23                                                          Judge:   Hon. Yvonne Gonzalez Rogers
                   v.
24                                                          Trial Date:         None Set
   UNITED STATES OF AMERICA FEDERAL
25 BUREAU OF PRISONS et al.,
26                      Defendants.

27
28

     [4415235.1]                                                                Case No. 4:23-cv-04155-YGR
                                            DECLARATION OF K.D.
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 1                 I, K     D         , declare:

 2                 1.     I made this declaration over the telephone to my counsel. I do not have access to

 3 printer at which I could print this declaration tonight. Nor do I have any means of scanning and
 4 emailing a signed declaration.
 5                 2.     I have personal knowledge of the facts set forth herein, and if called as a witness, I

 6 could and would competently so testify.
 7                 3.     I am currently incarcerated at FCI Dublin.

 8                 4.     I intend to testify in support of plaintiffs in the CCWP case in the evidentiary

 9 hearing for preliminary injunction and previously agreed to testify on several occasions.
10                 5.     I was transported on January 4, 2024 to the Oakland courthouse along with T.M.,

11 J.M., and K.P.
12                 6.     I was told at 6 am I would be transported to the Oakland Courthouse. This was a

13 surprise to me because I was informed that I would be testifying on January 5, 2023 by Plaintiffs’
14 counsel, not January 4, 2023. I heard one individual T.M. attempted to refuse to go to court,
15 because she was feeling sick and knew she was also not testifying today on January 4, 2023. BOP
16 officers told her she did not have a choice and that we are court ordered to appear.
17                 7.     They put us through processing from 6 am to 9 am. The U.S. Marshal’s Service

18 informed Officer Peterson that they were going to arrive back at Dublin after 1600 (4 pm). Officer
19 Peterson said there would be no one to process us at that time.
20                 8.     They dressed us in large clothing that was three sizes too big for me and had black

21 marker written all over it. We were put in short sleeved clothing. I was given size 8 shoes when I
22 usually wear size 6 shoes.
23                 9.     We asked officers why we could not wear our usual uniforms. I have been able to

24 wear my uniform every other time we have gone to court without issue. We were told by a BOP
25 officer, Officer Peterson, we had to wear this clothing because it was required by the Marshal’s
26 service. We were told we could not wear a jacket, even though it was freezing outside.
27                 10.    When the Marshal’s Service came to transport us, they mentioned they did not

28 require this clothing for transport and that they did not care if we wore uniforms, or if we wore

     [4415235.1]                                             2                        Case No. 4:23-cv-04155-YGR
                                                   DECLARATION OF K.D.
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 1 jackets.
 2                 11.   We arrived at the Oakland Courthouse around 9 am. We were put in a cold holding

 3 cell with a steel toilet, steel bench, and we were kept in leg shackles. We were given one meal, a
 4 peanut butter and jelly sandwich at 10 am, and were not given any food after. When I returned to
 5 Dublin at 6 pm, I was only able to eat because someone made me food, since I am not permitted to
 6 access my commissary.
 7                 12.   We stayed in the same holding cell until 4 pm. We requested specifically to speak

 8 to the Plaintiffs’ attorneys and were denied.
 9                 13.   On the way out of the Courthouse, we were fully booked including had our

10 fingerprints taken. This also seemed strange to me because I had not experienced this at any other
11 time I had gone to court. The Marshal’s officer who was transporting us asked what was going on
12 to the Marshal’s officer who was fingerprinting us and made it seem like that was not usual. This
13 took 30 minutes per person.
14                 14.   When we arrived, Officer Espinoza told us that because there were no officers who

15 could have processed us after 4 pm, that the plan was to put us in the SHU. Officer Espinoza said
16 he stayed late so we didn’t have to go to the SHU, but we were shocked to hear that after being at
17 court all day in these conditions, the plan was to immediately put us in the SHU.
18                 15.   This experience was very traumatizing for us. I have been to court so many times

19 and it brings up PTSD of waiting to be sentenced. It feels like I am going through that again to be
20 waiting in court for hours without knowing my fate. It made feel broken.
21                 //

22                 //

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     [4415235.1]                                          3                       Case No. 4:23-cv-04155-YGR
                                               DECLARATION OF K.D.
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 1                 16.    This has affected other’s willingness to testify. I know one individual, J.M., who

 2 said there is no way she would come back to testify because it was all too traumatizing.
 3                 I declare under penalty of perjury under the laws of the State of California that the

 4 foregoing is true and correct to the best of my knowledge, and that this declaration is executed at
 5 Dublin, California this 4th day of January, 2024.
 6
 7
 8                                                            /s/ K       D
                                                              K       D
 9
10
11
                   On January 4, 2023 at approximately 7:30 pm, due to the late hour and the impossibility of
12
           visiting the witness at FCI Dublin at this hour, and without the notice currently required by the
13
     BOP for such visits, I read the contents of this declaration, verbatim, to K            D         by
14
     telephone. K              D        orally confirmed that the contents of the declaration were true and
15
     correct. K            D         also orally granted me permission to affix her signature to the
16
     declaration and to file the declaration in this manner.
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18
19                                                            /s/ Amaris Montes
                                                              Amaris Montes
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     [4415235.1]                                             4                         Case No. 4:23-cv-04155-YGR
                                                  DECLARATION OF K.D.
